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EXHIBIT A




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                      Chapter 7

HERITAGE HOME GROUP, LLC, et al.1                           Case No. 18-11736 (BLS)

                             Debtors.                       (Jointly Administered)



ALFRED T. GIULIANO, in his capacity as                      Adv. Proc. No. 20-50766 (BLS)
Chapter 7 Trustee of HERITAGE HOME
GROUP, LLC, et al.,

                             Plaintiff,

vs.

AKZO NOBEL COATINGS INC.,

                             Defendant.

                  STIPULATION FURTHER EXTENDING DEADLINE FOR
                    DEFENDANT TO RESPOND TO THE COMPLAINT

         Plaintiff Alfred T. Giuliano, in his capacity as chapter 7 Trustee of Heritage Home

Group, LLC, et al. (the “Plaintiff”)and Defendant Akzo Nobel Coatings Inc. (the “Defendant”)

in this adversary proceeding, by and through their respective counsel, hereby stipulate and agree

as follows:

         1.      On July 20, 2020, the Plaintiff filed the Complaint for Avoidance and Recovery

of Preferential Transfers Pursuant to 11 U.S.C. §§ 547 & 550 (the “Complaint”) in the above

captioned adversary proceeding against the Defendant.

1
  The Debtors in these cases, along with the last four digits of each Debtor’s tax identification numbers,
are: Heritage Home Group LLC (9506); HH Global II B.V. (0165); HH Group Holdings US, Inc. (7206);
HHG Real Property LLC (3221); and HHG Global Designs LLC (1150). The Debtors’ corporate
headquarters was located at 1925 Eastchester Drive, High Point, North Carolina 27265.



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        2.       On November 11, 2020, the Parties filed a stipulation to further extend the time to

answer the Complaint [Docket No. 11].

        3.       The deadline for the Defendant to answer, move or otherwise respond to the

Complaint was scheduled for December 16, 2020.

        4.       The Plaintiff has agreed to give the Defendant an extension of approximately

thirty (30) days so that the deadline for the Defendant to answer, move or otherwise respond to

the Complaint shall be January 15, 2021.

        5.       This Stipulation is without prejudice to the rights of the parties to seek a further

continuation of this deadline.

        6.       This Stipulation may be executed by facsimile and in any number of counterparts,

each of which when so executed shall be deemed an original, but all such counterparts shall

constitute but one and the same Stipulation.

Dated: December 10, 2020                   PACHULSKI STANG ZIEHL & JONES LLP
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                                           Counsel to Plaintiff, Alfred T. Giuliano, Chapter 7
                                           Trustee for the Estates of Heritage Home Group, LLC,
                                           et al.



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                                    THOMPSON HINE LLP

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